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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

UNITED STATES OF AMERICA,                          §
                                                   §
                                                   §
V.                                                 §           No. 3:08-cr-268-B (03)
                                                   §
JOSE JUAN HERNANDEZ                                §
(BOP Register No. 38507-177),                      §
                                                   §
               Defendant.                          §

                                              ORDER

       The United States Magistrate Judge made findings, conclusions, and a recommendation in

this case, as to Defendant’s Motion to Order Nunc Pro Tunc Designation and/or to Correct

Judgment and Commitment to Reflect Correct Sentence Computation [Dkt. No. 450]. No

objections were filed. The District Court reviewed the proposed findings, conclusions, and

recommendation for plain error. Finding none, the Court ACCEPTS the Findings, Conclusions, and

Recommendation of the United States Magistrate Judge.

       Accordingly, the Court DENIES Defendant’s requested Federal Rule of Criminal Procedure

36 relief with prejudice, and, because the Court lacks jurisdiction to consider relief under 28 U.S.C.

§ 2241 as to Defendant, the Court also DENIES any such relief Defendant seeks without prejudice

to his reasserting that request in the district in which he is incarcerated.

       SO ORDERED.

       DATED: MARCH 15, 2016


                                               _________________________________
                                               JANE J. BOYLE
                                               UNITED STATES DISTRICT JUDGE
